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                                   In the United States Bankruptcy Court
                                          Southern District of Texas
                                              Houston Division


In Re: David Salinas Soliz                                       Case Number: 18-32725-H5-13
       Leticia Soliz
       16 Foster Court
       Sugarland, Tx 77479
Debtor(s)                                                        Chapter 13


                              TRUSTEE'S CERTIFICATION OF NON-COMPLIANCE


    I, William E. Heitkamp, Trustee, do hereby certify that the Debtor(s) herein have failed to

    comply with the Courtroom minutes dated Wednesday, May 22, 2019, and that entry of an

    order dismissing the case is requested.

    Dated: 6/17/2019


                                                                     /s/ William E. Heitkamp
                                                                     William E. Heitkamp, Trustee
                                                                     Admissions ID No. 3857
                                                                     9821 Katy Freeway, Suite 590
                                                                     Houston, Tx 77024
                                                                     (713) 722-1200




                                       CERTIFICATE OF SERVICE

    This is to certify that a true and correct copy of the foregoing Certification of

    Non-Compliance has been served upon the Debtor's Attorney via ECF and the Debtor( s) via

    first class mail on 6/17/2019.



    /s/ William E. Heitkamp___
    William E. Heitkamp, Trustee




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